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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


SAVE LONG BEACH ISLAND, a nonprofit                       Case No. 22-55
corporation; and ROBERT STERN, Ph.D., an
individual,
       Plaintiffs,

       v.
United States Department of the Interior; DEB
HAALAND, Secretary of the Interior, acting in
her official capacity; United States BUREAU OF
OCEAN ENERGY MANAGEMENT; and
AMANDA LEFTON, Director of the United
States Bureau of Ocean Energy Management,
acting in her official capacity;

       Defendants.

 MOTION OF LOCAL COUNSEL TO ADMIT DAVID P. HUBBARD PRO HAC VICE;
               DECLARATION OF DAVID P. HUBBARD

       PLEASE TAKE NOTICE that, pursuant to Local Civil Rule 83.2(d) of the Rules of this

Court, local counsel for Plaintiff, Nancie G. Marzulla, moves for the admission of David P.

Hubbard, pro hac vice, on the following grounds:

       1.      David P. Hubbard is admitted to practice and is in good standing before the United

States Court of Appeals, Ninth Circuit; United States District Court, Eastern District of California;

United States District Court, Central District of California; United States District Court, Southern

District of California; United States District Court, Northern District of California; and State Court

of California. I have verified Attorney Hubbard’s active membership and good standing in these

courts by checking the associated websites operated by these courts.

       2.      David P. Hubbard has reviewed and is familiar with the Local Rules of this Court.
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       3.      The undersigned, an attorney admitted to practice and in good standing before this

Court, has appeared in this action.

Dated: January 10, 2022                                                  Respectfully submitted,

                                                                           s/Nancie G. Marzulla
                                                                             Nancie G. Marzulla
                                                                             Marzulla Law, LLC
                                                                     1150 Connecticut Ave NW,
                                                                                     Suite 1050
                                                                       Washington, D.C. 20036
                                                                                (202) 822-6760
                                                                          nancie@marzulla.com
                                                                           D.C. Bar No. 400985

                                                                           Counsel for Plaintiffs




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                           DECLARATION OF DAVID P. HUBBARD

I, DAVID P. HUBBARD, certify as follows:

       1.      I am a partner at the law offices of Gatzke Dillon & Ballance, LLP, located at 2762

Gateway Road, Carlsbad, California, (760) 431-9501. I am over 18 years of age and am competent

to testify on my own behalf.

       2.      I am a member in good standing of every bar in which I have been admitted to the

practice of law. These consist of the following: United States Court of Appeals, Ninth Circuit;

United States District Court, Eastern District of California; United States District Court, Central

District of California; United States District Court, Southern District of California; United States

District Court, Northern District of California. In addition, I am a member in good standing of the

State bar of California.

       3.      There are no disciplinary charges pending against me in any jurisdiction. I have

never been disciplined or sanctioned by a court or bar association.

       4.      I have never previously been admitted to this court pro hac vice.

       5.      I have reviewed and become familiar with the Local Rules of the United States

District Court for the District of Columbia.

       6.      Nancie Marzulla, a regular member of the bar of this Court, is advancing the present

motion.

       7.      I affirm all of the foregoing statements under penalty of perjury under the laws of

the United States of America.

Dated: January 10, 2022                                               /s/ David P. Hubbard
